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                          EXHIBIT 6
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    1                        UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA
    2                          WEST PALM BEACH DIVISION
                             CASE NO. 19-81160-CIVIL-SMITH
    3

    4    APPLE, INC.,                             West Palm Beach, Florida

    5                      Plaintiff,             February 12, 2020
                                                        -and-
    6                vs.                          February 13, 2020

    7    CORELLIUM, LLC,

    8                   Defendant.          Pages 1 to 368
         ______________________________________________________________
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   10                              MOTION HEARING
                      BEFORE THE HONORABLE WILLIAM MATTHEWMAN,
   11                      UNITED STATES MAGISTRATE JUDGE
                   (TRANSCRIBED FROM THE DIGITAL AUDIO RECORDING)
   12
         APPEARANCES:
   13

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    1               MR. LEVINE:   It's framed by the pleadings.

    2               THE COURT:    So what I'm trying to understand is if --

    3    let's assume that a Federal Government agency or employee has

    4    the Corellium Apple product and you're calling it not a sale

    5    and not commercialization.

    6               Isn't the other side entitled to look at that and see

    7    if it is sale or commercialization?        Or do they just have to

    8    accept your word it isn't?

    9               MR. VINE:    I think we're talking about apples and

   10    oranges, because I think, your Honor, the way it was just

   11    framed, that would make, you know, a little -- you know, it

   12    would make sense.

   13               But that's not what's happening.

   14               We sell the product to specific people.       And that's all

   15    we do.   We don't just give the product out for free in that --

   16    in that sense.     We sell the product.

   17               And, more importantly, the product at issue is under --

   18    the issue that we're dealing with is a copyright infringement.

   19    So what are the elements of copyright versus fair use?           None of

   20    the issues as it relates to any interactions with the Federal

   21    Government --

   22               THE COURT:    Are you concerned that you've sold it to

   23    somebody who has given it to the US Government?          Is that the

   24    concern?

   25               MR. VINE:    No.   We have overriding concerns that we
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    1    tried to with the stipulation -- tried to address without --

    2    not coming in here.     But there's national security concerns

    3    that --

    4              THE COURT:    So why doesn't the Federal Government come

    5    in here to raise concerns?

    6              MR. VINE:    I --

    7              Do you want -- you can address that point.

    8              MR. LEVINE:    Yeah.

    9              So actually, your Honor, we're trying to resolve it

   10    here.   If not, then maybe the case.

   11              THE COURT:    Well, I mean, usually, when the Federal

   12    Government has a national security concern, they're not shy

   13    about coming into court and asserting it.

   14              MR. VINE:    But I really want to veer away from that

   15    issue because, frankly, we don't need to get to that point

   16    because, while I understand Rule 26.1 allows obviously some

   17    broad discovery, there's also limitations.         And there's case

   18    law.    And the Southern District is very clear on these

   19    limitations.

   20              By us agreeing to the core of what they need for their

   21    elements to prove their case or disprove or -- any of our

   22    affirmative defenses, by us responding by our proposal, that's

   23    exactly what they need.

   24              It's not -- it's not me just saying:        Trust me.

   25    It's -- no.    It's me saying:     We don't have any contracts or
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    1    agreements that would go to any damages issues.          We don't have

    2    any contracts, agreements or documents that would go to our

    3    fair use defense.      We don't have any contracts, agreements that

    4    would go to our acquiescence defense, obviously, with the

    5    federal -- you know, with the Federal Government.          That's what

    6    it would apply to.

    7              But just to have it as a broad stroke -- in fact, the

    8    way it's phrased, many judges have actually rejected it.           When

    9    it says -- anything that says "all."        There's tons of case law

   10    that says that that's completely improper.

   11              And we did object --

   12              THE COURT:    You know, "any and all" is completely

   13    improper.

   14              MR. VINE:    Right.

   15              THE COURT:    "All" may be, depending on the context.

   16              MR. VINE:    Certainly in this case.

   17              But our proposal on the limitation, I think, is fair

   18    and reasonable.

   19              THE COURT:    I'm just trying to understand what the

   20    fight is about here.      Is it just -- are we just talking about

   21    semantics and positions that are being staked out?          Or is there

   22    something that means anything here?

   23              MR. VINE:    So I think it's -- to be candid, it's

   24    probably a little of both.

   25              My biggest concern --
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    1    soon as we get them all done.

    2              And then just keep in mind we need to be back here --

    3    we need to have all this production done by the 24th and then

    4    we'll be back here on the 27th at 10:00 a.m.         All right?

    5              MR. LEVINE:    Thank you, your Honor.

    6              MS. STEBBINS BINA:     Your Honor, thank you.

    7              THE COURT:    Have a good day.

    8              MS. STEBBINS BINA:     Thank you.

    9              THE COURT:    Court's in recess.

   10              (Proceedings concluded.)

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   13
                                 C E R T I F I C A T E
   14

   15                I hereby certify that the foregoing is an

   16    accurate transcription of the proceedings in the

   17    above-entitled matter to the best of my ability.

   18

   19
         ____________            /s/Lisa Edwards
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